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                                                                     JUDGE RONALD LEIGHTON
3
                                     UNITED STATES DISTRICT COURT, WESTERN
4                                        DISTRICT OF WASHINGTON AT TACOMA
5

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7
            UNITED STATES OF AMERICA,
8           Plaintiff,
                                                                           NO. CR04-5647-RBL
9                 v.
                                                                           ORDER MODIFYING
10
            MONICA NGUYEN aka DAO THI                                      CONDITIONS OF RELEASE
11          NGUYEN,
            Defendant.
12

13
                        The Court having considered the motion to modify the conditions
14
           of release to permit travel at the direction and approval of pre-trial
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16         services, and the records and files herein, it is hereby

17                      ORDERED ADJUDGED AND DECREED, that defendant Monica
18
           Nguyen’s motion to modify her conditions of release to permit travel at the
19
           direction and approval of pre-trial services is GRANTED.
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                        DATED: August                        29th 2005.


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                        RONALD B. LEIGHTON
                        UNITED STATES DISTRICT JUDGE
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                                                                                  LAW OFFICES
           ORDER MODIFYING CONDITIONS OF
                                                                               MARY KAY HIGH
           RELEASE - 1                                                       109 TACOMA AVENUE NORTH
                                                                            TACOMA, WASHINGTON 98403
           [Order Modifying Conditions of Release PDF.doc]                          (253) 572-6865
